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                        EXHIBIT 6
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                                  Failed Business Compensation Framework1

I.         Definitions

A “Failed Business” shall be an entity that commenced operations prior to November 1, 2008,
and that, subsequent to May 1, 2010 but prior to December 31, 2011, either (i) ceased
operations and wound down, or (ii) entered bankruptcy (through the filing of a petition for
bankruptcy protection in a court of competent jurisdiction), or (iii) otherwise initiated or
completed a liquidation of substantially all of its assets.

A “Failed Start-Up Business” shall be an entity that commenced operations on or after
November 1, 2008, and, subsequent to May 1, 2010 but prior to December 31, 2011, either (i)
ceased operations and wound down, or (ii) entered bankruptcy (through the filing of a petition
for bankruptcy protection in a court of competent jurisdiction), or (iii) otherwise initiated or
completed a liquidation of substantially all of its assets.

II.        Causation Requirements

If the claim is not excluded by the application of III below, a claimant may establish causation as
follows:

           1.       If the claimant is a Failed Business or a Failed Start-Up Business in Zone A, the
                    claimant is not required to provide any evidence of causation unless you fall into
                    the exception agreed to by the parties, and listed in footnote (1).

           2.       If the claimant is a Failed Business or a Failed Start-Up Business meeting the
                    definition of a “Commercial Fisherman,” or “Landing Site,” or “Commercial
                    Wholesale or Retail Dealer A,” or “Primary Seafood Processor,” as set forth in
                    “Seafood Distribution Chain Definitions,” the claimant is not required to provide
                    any evidence of causation.

           3.       If the claimant is a Failed Business or a Failed Start-Up Business in Zone A, B or C
                    and the claimant is also a “Commercial or Wholesale or Retail Dealer B,” or a
                    “Secondary Seafood Processor,” or a “Seafood Wholesaler or Distributor,” or a
                    “Seafood Retailer,” as set forth in “Seafood Distribution Chain Definition,” the
                    claimant is not required to provide any evidence of causation.

           4.       If the claimant is a Failed Business or a Failed Start-Up Business in Zone A or Zone
                    B, and the claimant also meets the “Tourism Definition,” the claimant is not
                    required to provide any evidence of causation.


1
       This Failed Business Compensation Framework does not apply to (i) Start-Up businesses (except Failed Start-
       Ups), (ii) Entities, Individuals or Claims not included within the Economic Class definition; or (iii) Claims
       covered under the Seafood Program.


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           5.       If you are in Zone A, B or C, and you meet the “Charter Fishing Definition” you
                    are not required to provide any evidence of causation.

           6.       If the claimant is a Failed Business in Zone B not receiving a presumption,
                    causation may be established by demonstrating the following:

                    a.       A 8.5% decline in revenues during the months for which it operated
                             between May 2010 and its last full month of operations (not to extend
                             beyond April 2011) as compared to the comparable months during the
                             period of May 2009 through April 2010.

                    AND

                    b.       The Administrator is provided evidence through documentation and/or
                             affidavits that provide a reasonable basis to conclude that the DWH Spill
                             was a substantial cause of the revenue decline. For example, the
                             claimant provides evidence of customer cancellations or lost contracts
                             related to the DWH Spill.

           7.       If the claimant is a Failed Business that meets the definition of “Seafood
                    Retailer” operating outside of Zone A, B, or C, the claimant may alternatively
                    establish causation by showing that it experienced a 15% increase in costs during
                    the months for which it operated between May 2010 and its last full month of
                    operations (not to extend beyond April 2011) as compared to the comparable
                    months during the period from May 2009 through April 2010. The claimant must
                    also establish the specific basis for the cost increase and that, absent the DWH
                    Spill, the increase in costs would not have occurred.

           8.       If the claimant is a Failed Start-Up Business in Zone B not receiving a
                    presumption, causation may be established by demonstrating the following:

                    a.       A 8.5% decline in revenues during the months for which it operated
                             between May 2010 and its last full month of operations (not to extend
                             beyond April 2011) relative to expected revenue in the same time period
                             as demonstrated by contemporaneous financial projections (to the
                             extent available) and expressed as a percentage of expected revenue;2

                    AND

                    b.       The Administrator is provided evidence through documentation and/or
                             affidavits that provide a reasonable basis to conclude that the DWH Spill
                             was a substantial cause of the revenue decline. For example, the

2
    See Exhibit A attached hereto for an example of how this calculation is performed.



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                            claimant provides evidence of customer cancellations or lost contracts
                            related to the DWH Spill.

           9.       If the claimant is a Failed Business or Failed Start-Up Business in Zone C, then
                    paragraphs 6 and 8 apply with the percentage of decline changing to 10%.

           10.      If the claimant is a Failed Business or Failed Start-Up Business in Zone D, then
                    paragraphs 6 and 8 apply with the percentage of decline changing to 15%.

III.       Excluded Business Failure

Any Failed Business satisfying subparts (a), (b), or (c), below shall not be entitled to
compensation pursuant to section IV.

                    a.      The Failed Business or Failed Start-Up Business reported negative
                            EBITDA3 for the twelve month period prior to May 1, 2010 (or, in the
                            event that the claimant is a Failed Start-Up Business with less than twelve
                            months of operating history, negative EBITDA for the months during
                            which the business operated prior to May 1, 2010).

                    b.      The Failed Business or Failed Start-Up Business was in default prior to
                            May 1, 2010 under any existing financing agreement.

                    c.      The Failed Business or Failed Start-Up Business is located in Zone D and
                            does not satisfy the “Tourism” or “Seafood Distribution Chain”
                            definitions.

IV.        Documentation Requirements

           1.       Claimant shall provide the following documentation:

                    a.      An affidavit from an authorized representative of the claimant certifying
                            the following:

                    b.      The position of the affiant, his or her relationship to the claimant, and
                            certification that the affiant is authorized to act on behalf of the claimant.

                    c.      The date on which the entity was incorporated and the date on which it
                            began operations.

                    d.      Certification that, as of May 1, 2010:


3
    EBITDA is defined as earnings before interest, income taxes, depreciation, amortization and owner’s
       compensation.



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                i.      No bankruptcy filing, asset liquidation, or debt restructuring had
                        been initiated; (A renewal of a business loan will not be deemed
                        restructuring.)

                ii.     The business was in full compliance with all covenants as to
                        financial condition governing outstanding borrowing or credit
                        agreements prior to the DWH Spill; and

                iii.    All documentation submitted consists of or was derived from
                        documents maintained in the ordinary course of business.

   2.    Documents reflecting corporate or partnership organization (e.g., articles of
         incorporation or partnership agreements).

   3.    Actual annual and monthly financial statements (including income statements
         and balance sheets) for at least all of 2009 and January-April of 2010 or if the
         claimant is a Failed Start-Up Business, for all months of operation prior to May 1,
         2010. Claimant may prepare financial statements from contemporaneous
         business records currently maintained, as long as the claimant provides the
         documents or information upon which any subsequently-prepared financial
         statements are based.

   4.    Actual annual and monthly financial statements (including income statements
         and balance sheets) for May 2010 through present, or through the liquidation of
         the company, or cessation of operation, whichever occurs first. Claimant may
         prepare financial statements from contemporaneous business records currently
         maintained, as long as the claimant provides the documents or information upon
         which any subsequently-prepared financial statements are based.

   5.    Any and all credit agreements, promissory notes, lease agreements, letters of
         credit and other loan documentation, including any notices of default, in
         existence as of April 20, 2010 or entered into thereafter including amendments
         related thereto.

   6.    Any and all projections, forecasts or budgets prepared prior to April 20, 2010
         projecting, predicting or forecasting the financial performance of the business
         for any period after April 20, 2010.

   7.    To the extent applicable, any and all bankruptcy schedules, including the original
         petition, any confirmed plans of liquidation or reorganization, and any
         documentation evidencing standing to pursue claims if vested with any entity or
         other party other than the debtor filing bankruptcy. To the extent the claimant
         has not filed for bankruptcy protection, (a) documentation reflecting the
         company’s entry into the liquidation process, (b) any and all documentation
         reflecting the standing or authority of the claimant to pursue any claims of the


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              business, and (c) any documentation evidencing standing to pursue claims if
              vested with any entity or other party other than the claimant pursuing the
              liquidation of its assets.

        8.    Evidence of any asset sales, including a description of each asset and the
              corresponding sales prices, and evidence of any payments of liquidation
              proceeds in satisfaction of debt and/or other creditor obligations.

        9.    A listing of any assets which have not been liquidated at the time of the claim
              submission, including a description of each asset, the recorded net book value of
              each asset, and, if available, all certified appraisals of the value of each asset.

        10.   A listing of any debt and/or trade creditor obligations outstanding at the time of
              the claim submission.

V.      Compensation

        1.    For Failed Businesses that meet one of the causation requirements set forth
              above, claimant compensation shall be determined as follows:

              a.     Sum the latest twelve months EBITDA of the business for the twelve
                     month period prior to May 1, 2010.

              b.     Identify the general industry in which claimant operates and locate the
                     corresponding median Market Value of Invested Capital (“MVIC”) to
                     EBITDA multiple from Table 1 below. If an appropriate industry and
                     multiple cannot be found in the Table 1, use the “All Deals” median MVIC
                     to EBITDA multiple at the bottom of the table.

              c.     Multiply the EBITDA by the MVIC to EBITDA multiple to calculate the Pre-
                     DWH Spill total enterprise value (“TEV”).

              d.     Determine the Liquidation Value of assets as either (i) the court-approved
                     reorganization value, to the extent reorganized under bankruptcy law
                     process or (ii) sales proceeds from assets liquidated plus certified
                     appraisal values of assets yet to be liquidated under a plan of liquidation,
                     net of actual or anticipated liquidation costs (including out-of-pocket
                     costs to the claimant for the liquidation or wind down process), as
                     relevant. If no certified appraisal exists for un-liquidated assets, net book
                     values will be used. The total liquidation value (including both realized
                     and unrealized amounts) shall be increased for any creditor claims
                     existing pre-DWH Spill and discharged during bankruptcy, and any
                     amounts received by the claimant from BP or the GCCF pursuant to BP’s
                     OPA Claims process, or profits earned by the claimant by participating in
                     any BP-sponsored spill remediation program to determine the Net


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                Liquidation Value. However, no credit will be taken for unliquidated
                assets that the claimant tenders to BP.

         e.     Calculate claimant compensation by subtracting the Net Liquidation
                Value from the Pre-DWH Spill TEV.

         f.     A Risk Transfer Premium (“RTP”) will not be applied to claimant
                compensation for Failed Businesses because the measurement of TEV
                incorporates the future lost profits of the business.

   2.    For Failed Start-Up Businesses that meet one of the causation requirements set
         forth above, claimant compensation shall be calculated as follows:

         a.     Calculate book value of equity as of May 1, 2010.

         b.     Subtract amounts distributed to equity holders subsequent to the DWH
                Spill.

         c.     Add the total current amount of unpaid obligations of claimant to its
                creditors.

         d.     Subtract the book value of assets remaining to be liquidated unless such
                assets are tendered to BP then the value shall not be subtracted.

         e.     Subtract any other proceeds received by the claimant from BP or the
                GCCF pursuant to BP’s OPA Claims process, or profits earned by the
                claimant by participating in any BP-sponsored spill remediation program.

         f.     Where a Failed Start-Up Business receives compensation under this
                framework, compensation shall be provided to the claimant for an
                owner’s “sweat equity” if the owners submit affidavits setting forth for
                each owner (i) the nature of services provided by that owner to the
                claimant for which the owner received no compensation or less than fair
                market compensation, (ii) the time period over which the services were
                rendered, (iii) the average amount of time per week devoted to the
                Failed Start-Up Business, and, (iv) if employed outside the Failed Start-Up
                Business during the time the business operated, a description of that
                employment.

                Where these criteria are satisfied, claimant shall be entitled to “sweat
                equity” compensation as set forth below. In addition, two example
                calculations are attached hereto as Exhibit B.

                   1. Step 1: Calculate the Monthly Sweat Equity Benchmark Income
                      pursuant to Step 1 subparts (a) through (d).


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                     Step 1a: Identify the “Commencement Date”: the day that the
                     Failed Start-Up Business commenced operations.

                     Step 1b: Identify the “Sweat Equity Contribution Start Date”: the
                     date when the owner first began performing sweat equity work or
                     the date six months prior to the Commencement Date, whichever
                     yields the shorter time period.

                     Step 1c: Establish the Sweat Equity Benchmark Period: The
                     Sweat Equity Benchmark Period shall consist of the time period
                     from the “Sweat Equity Benchmark Period Start Date” through the
                     “Sweat Equity Benchmark Period End Date.”

                     The “Sweat Equity Benchmark Period Start Date” will be either:

                            a)     January 1 of the calendar year preceding the year
                                   in which the Sweat Equity Contribution Start Date
                                   occurred, or

                            b)     January 1 of any year prior to the year identified in
                                   (a) above, but not preceding January 1, 2007.

                     For example, for a business with a Commencement Date of
                     January 1, 2010, and a Sweat Equity Contribution Start Date of
                     August 10, 2009, the claimant may choose as the Sweat Equity
                     Benchmark Period Start Date either January 1, 2008 or January 1,
                     2007.

                     The “Sweat Equity Benchmark Period End Date” shall be defined
                     as the end of the last full month preceding the Sweat Equity
                     Contribution Start Date. For example, if the Sweat Equity
                     Contribution Start Date was August 10, 2009, the Sweat Equity
                     Benchmark Period End Date will be July 31, 2009.

                     Step 1d: Calculate the “Monthly Sweat Equity Benchmark
                     Income.” The owner shall provide documentation of income
                     earned for the Sweat Equity Benchmark Period, including tax
                     returns, W-2s, year-end pay stub information and, if available,
                     monthly or other periodic pay stubs or other records reflecting
                     monthly earned income (“Earned Income Documentation”).
                     Monthly Sweat Equity Benchmark Income shall be determined by
                     dividing:

                             (i)    Total income earned from all employers and/or
                                    activities (including self-employment) during the


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                                     Sweat Equity Benchmark Period, as reflected in
                                     Earned Income Documentation

                                     by

                              (ii)   The total number of months in the Sweat Equity
                                     Benchmark Period, adjusted, if relevant, to
                                     exclude months where the owner provides
                                     documents evidencing that

                                     a. No income was earned, and

                                     b. The owner was not employed, functioning as
                                        an independent contractor, or otherwise
                                        engaged in income-generating activities
                                        unrelated to the Failed Start-Up Business. For
                                        example, if the owner was a real estate agent
                                        operating as an independent contractor, the
                                        owner must include all months for which he or
                                        she functioned as a real estate agent, even if
                                        no income was earned in a particular month.



                  2. Step 2: For each owner, determine the “Sweat Equity
                     Compensation Period” as the period from his or her Sweat Equity
                     Contribution Start Date to the date the Failed Start-Up Business (i)
                     ceased operations and wound down, or (ii) entered bankruptcy
                     (through the filing of a petition for bankruptcy protection in a
                     court of competent jurisdiction), or (iii) otherwise initiated or
                     completed a liquidation of substantially all of its assets (“Failure
                     Date”). Total Monthly Sweat Equity across all owners in a given
                     month is calculated by summing the monthly Sweat Equity
                     Benchmark Income for each owner with sweat equity in the
                     relevant month for all months in the Sweat Equity Compensation
                     Period. The maximum amount of Total Monthly Sweat Equity in
                     any month is $12,500. Total Sweat Equity represents the sum of
                     the Total Monthly Sweat Equity for all owners and cannot exceed
                     $150,000.

                  3. Step 3: To determine Net Sweat Equity for each owner, from the
                     Total Sweat Equity in Step 2, subtract (i) any funds (including
                     payroll earnings, draws, cancelled loans or other distributions)
                     actually paid to an owner by the Failed Start-Up during its



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                      operation and (ii) any income earned by the owner from
                      employment outside the Failed Start-Up. These amounts shall be
                      established by the owner providing documentation in the form of
                      tax returns, W-2s, year-end pay stub information or the Failed
                      Start-Up’s contemporaneously maintained payroll records.

          g.   An RTP will not be applied to claimant compensation for Failed Start-Up
               Businesses.




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Table 1: Industry Multiples
                                                                                            Median
 General                                                                                 MVIC to EBITDA
 SIC Code   Industry Description                                                            Multiple
    41      Local And Suburban Transit And Interurban Highway Passenger Transportation        3.1x
    42      Motor Freight Transportation And Warehousing                                      2.9x
    44      Water Transportation                                                              7.1x
    45      Transportation By Air                                                             4.6x
    47      Transportation Services                                                           3.6x
    48      Communications                                                                    5.5x
    50      Wholesale Trade-durable Goods                                                     5.0x
    51      Wholesale Trade-non-durable Goods                                                 3.9x
    52      Building Materials, Hardware, Garden Supply, And Mobile Home Dealers              3.4x
    53      General Merchandise Stores                                                        1.5x
    54      Food Stores                                                                       2.4x
    55      Automotive Dealers And Gasoline Service Stations                                  1.8x
    56      Apparel And Accessory Stores                                                      2.6x
    57      Home Furniture, Furnishings, And Equipment Stores                                 3.5x
    58      Eating And Drinking Places                                                        1.9x
    59      Miscellaneous Retail                                                              3.2x
    65      Real Estate                                                                       2.8x
    70      Hotels, Rooming Houses, Camps, And Other Lodging Places                           1.8x
    72      Personal Services                                                                 2.3x
    73      Business Services                                                                 4.4x
    75      Automotive Repair, Services, And Parking                                          3.3x
    76      Miscellaneous Repair Services                                                     4.0x
    79      Amusement And Recreation Services                                                 2.1x
    81      Legal Services                                                                    3.2x
    82      Educational Services                                                              4.6x
    83      Social Services                                                                   4.1x
    87      Engineering, Accounting, Research, Management, And Related Services               5.0x
            All Deals                                                                         3.2x
Source: Pratt's Stats® - Private Company Merger and Acquisition Transaction Database. Data
reflects all deals in the database with a disclosed MVIC to EBITDA multiple and a report date of
January 1, 2008 or later.




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Exhibit A
        Summary of Revenue Decline Causation Tests for Failed Businesses

                                             Zone B
                                        (Non-Tourism and       Zone C
                             Zone A       Non-Seafood)      (Non-Seafood)    Zone D
                             Decline                           Decline       Decline
                            Threshold   Decline Threshold     Threshold     Threshold

     Revenue Decline Test     N/A              -8.5%           -10.0%         -15%




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Exhibit A (continued)

             Example of Revenue Decline Causation Tests for Failed Business Claims

  In Examples 1 and 2, the claimant is assumed to be in Zone B and the claimant's last full month of
  operations is July 2010. These examples demonstrate a claimant that passes and a claimant that fails the
  Revenue Decline Causation Test.


   Example 1:                                   Revenue by Year
  Month                                     2009              2010

  May                                       300,000             250,000
  June                                      350,000             275,000
  July                                      325,000             225,000

  3-Month Aggregate:                        975,000             750,000
  [Sum of June, July, August]
                            Revenue Decline Percentage:              -23.1% =(750,000 - 975,000)/975,000
  Claimant Passes Revenue Decline Test



   Example 2:                                   Revenue by Year
  Month                                     2009              2010

  May                                       300,000             295,000
  June                                      350,000             335,000
  July                                      325,000             315,000

  3-Month Aggregate:                        975,000             945,000
  [Sum of June, July, August]
                            Revenue Decline Percentage:               -3.1% =(945,000 - 975,000)/975,000
  Claimant Fails Revenue Decline Test

  Notes:

  Revenue Decline Causation Test works in the same way for claimants in Zones C or D, with higher thresholds
  for the revenue decline. In Zone C the revenue decline percentage must be 10%. In Zone D the revenue decline
  percentage must be 15%.




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Exhibit A (continued)

                 Example of Revenue Decline Causation Tests for Failed Business Claims
                            Claimant in Zone B (8.5% Revenue Decline Test)

        In Examples 3A-C the claimant is assumed to be in Zone B and the claimant's last full month of operations
        is July 2010. Examples 3A-C demonstrate that under an aggregate test, three months of revenues are
        summed. The individual months may be up or down, as long as the three month aggregate period passes
        the test.


        Example 3A:                                   Revenue by Year
        Month                                     2009              2010

        May                                       300,000             250,000
        June                                      350,000             275,000
        July                                      325,000             225,000

        3-Month Aggregate:                        975,000             750,000
        [Sum of June, July, August]
                                  Revenue Decline Percentage:              -23.1% =(750,000 - 975,000)/975,000
        Claimant Passes Revenue Decline Test



        Example 3B:                                   Revenue by Year
        Month                                     2009              2010

        May                                       300,000             350,000
        June                                      350,000             175,000
        July                                      325,000             225,000

        3-Month Aggregate:                        975,000             750,000
        [Sum of June, July, August]
                                  Revenue Decline Percentage:              -23.1% =(750,000 - 975,000)/975,000
        Claimant Passes Revenue Decline Test



        Example 3C:                                   Revenue by Year
        Month                                     2009              2010

        May                                       300,000             350,000
        June                                      350,000             375,000
        July                                      325,000              25,000

        3-Month Aggregate:                        975,000             750,000
        [Sum of June, July, August]
                                  Revenue Decline Percentage:              -23.1% =(750,000 - 975,000)/975,000
        Claimant Passes Revenue Decline Test

        Notes:

        Revenue Decline Causation Test works in the same way for claimants in Zones C or D, with higher
        thresholds for the revenue decline. In Zone C the revenue decline percentage must be 10%. In Zone D the
        revenue decline percentage must be 15%.




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Exhibit B
                                                      Examples of Sweat Equity Calculation
Example 1:

Step 1: Calculate Monthly Sweat Equity Benchmark Income

Step 1a: Identify the Commencement Date of Operations                                        January 1, 2010    [a]

Step 1b: Identify the Sweat Equity Contribution Start Date                                   August 10, 2009    [b]
     (6 months or less prior to the Commencement Date)

Step 1c: Establish the Sweat Equity Benchmark Period
     Sweat Equity Bencmark Period Start Date                                    Option 1:    January 1, 2008    [c]
     (Must begin no later than January 1 of the calendar year preceding the                       - or -
     year in which the Sweat Equity Contribution Start Date occurred.           Option 2:    January 1, 2007    [d]
     However, the Claimant may, if relevant, elect a longer period and add
     the twelve months of 2008 or the 24 months of 2007 and 2008. Period
     ends with the last full month preceding the Sweat Equity Contribution
     Start Date.)

     Sweat Equity Benchmark Period End Date                                                   July 31, 2009     [e]
     (Last full month prior to the Sweat Equity Contribution Start Date)

Step 1d: Calculate Monthly Sweat Equity Benchmark Income
     Historical Earned Income
      January - December 2007 Earned Income                                                      $50,000        [f]
      January - December 2008 Earned Income                                                      $55,000        [g]
      January - July 2009 Earned Income                                                          $35,000        [h]

     Sweat Equity Benchmark Period Options
       Option 1: January 1, 2008 - July 30, 2009 [1]
        Total Compensation                                                                       $90,000        [i]=[g]+[h]
        Number of Months in Period with Earned Income                                               19          [j]=count of months from [c] to [e]
        Average Monthly Compensation                                                              $4,737        [k]=[i]/[j]

       Option 2: January 1, 2007 - July 30, 2009 [2]
        Total Compensation                                                                      $140,000        [l]=[f]+[g]+[h]
        Number of Months in Period with Earned Income                                              31           [m]=count of months from [d] to [e]
        Average Monthly Compensation                                                             $4,516         [n]=[l]/[m]

 Owner Selects Option 1 for Monthly Benchmark Period Income                                      $4,737         [o]=maximum of [k] and [n]
    (Maximum of $12,500)

Step 2: Calculate Total Sweat Equity

 Failure Date                                                                               December 31, 2010   [p]
      (Date the Failed Start-Up either (i) ceased operations and wound down,
      (ii) filed for bankruptcy protection, or (iii) otherwise initiated or
      completed a liquidation of substantially all of its assets)

 Selected Average Monthly Benchmark Period Income                                                $4,737         =[o]
 Number of Months Sweat Equity Provided                                                            17           [q]=count of months from [b] to [p]
     (Number of months between the Sweat Equity Contribution Start Date
     and the Failure Date)

 Total Gross Sweat Equity                                                                      $80,526.32       [r]=[o]*[q]
     (Maximum of $150,000)

Step 3: Calculate Net Sweat Equity Compensation by Subtracting Actual Earned Income

 Actual Earned Income after the Sweat Equity Contribution Start Date                               $0           [s]

 Net Sweat Equity Compensation                                                                   $80,526        [t]=[r]-[s]

Notes:
[1] Claimant uses only the minimum time to calculate the Sweat Equity Benchmark Period, which provides a larger monthly amount here.
[2] Claimant uses the full months available to calculate the Sweat Equity Benchmark Period.




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Exhibit B (continued)

Example 2:

Step 1: Calculate Monthly Sweat Equity Benchmark Income

Step 1a: Identify the Commencement Date of Operations                                 December 10, 2008   [a]

Step 1b: Identify the Sweat Equity Contribution Start Date                             August 10, 2008    [b]
     (6 months or less prior to the Commencement Date)

Step 1c: Establish the Sweat Equity Benchmark Period
     Sweat Equity Bencmark Period Start Date                                           January 1, 2007    [c]
     (Must begin no later than January 1 of the calendar year preceding the
     year in which the Sweat Equity Contribution Start Date occurred.
     However, the Claimant may, if relevant, elect a longer period and add
     the twelve months of 2008 or the 24 months of 2007 and 2008. Period
     ends with the last full month preceding the Sweat Equity Contribution
     Start Date.)


     Sweat Equity Benchmark Period End Date                                             July 30, 2008     [d]
     (Last full month prior to the Sweat Equity Contribution Start Date)

Step 1d: Calculate Monthly Sweat Equity Benchmark Income
     Historical Earned Income
      January - December 2007 Earned Income                                               $50,000         [e]
      January - July 2008 Earned Income                                                   $30,000         [f]

     Sweat Equity Benchmark Period (One Option)
      January 1, 2007 - July 30, 2008
        Total Compensation                                                                $80,000         [g]=[e]+[f]
        Number of Months in Period with Earned Income                                        19           [h]=count of months from [c] to [d]
        Average Monthly Compensation                                                       $4,211         [i]=[g]/[h]

 Monthly Benchmark Period Income                                                           $4,211         [j]=[i]
    (Maximum of $12,500)

Step 2: Calculate Total Sweat Equity

 Failure Date                                                                         December 31, 2010   [k]
      (Date the Failed Start-Up either (i) ceased operations and wound down,
      (ii) filed for bankruptcy protection, or (iii) otherwise initiated or
      completed a liquidation of substantially all of its assets)

 Selected Average Monthly Benchmark Period Income                                          $4,211         =[j]
 Number of Months Sweat Equity Provided                                                      29           [l]=count of months from [b] to [k]
     (Number of months between the Sweat Equity Contribution Start Date
     and the Failure Date)

 Total Gross Sweat Equity                                                                 $122,105        [m]=[j]*[l]
     (Maximum of $150,000)

Step 3: Calculate Net Sweat Equity Compensation by Subtracting Actual Earned Income

 Actual Earned Income after the Sweat Equity Contribution Start Date                         $0           [n]

 Net Sweat Equity Compensation                                                            $122,105        [o]=[m]-[n]




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